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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                            CASE NO. 1:13-CR-00362 AWI-BAM (007)
12
                                    Plaintiff,            STIPULATION REGARDING EXCLUDABLE
13                                                        TIME PERIODS UNDER SPEEDY TRIAL
                             v.                           ACT:;FINDINGS AND ORDER
14
     LOUIE CALLES,                                        DATE: 10/15/2013
15                                                        TIME: 1:00 p.m.
                                    Defendant.            COURT: Hon. Judge McAuliffe
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17
                                                   STIPULATION
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              Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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              1.     By previous order, this matter was set for status on 10/15/2013. During an arraignment of
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     co-defendants, after defendant’s status conference had been set, the court set a status conference for the
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     co-defendants in this case on 10/28/2013 at 1:00 p.m. due to the availability of counsel for co-defendants.
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              2.     By this stipulation, defendant Calles now moves to exclude time between 10/15/2013, and
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     10/28/2013, under Local Code T4. The previous status conference date has already been vacated by the
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     court.
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              3.     The parties agree and stipulate, and request that the Court find the following:
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                     a)      The government has represented that the initial discovery associated with this case
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 1          includes three thousand pages of discovery. All of this discovery has been either produced

 2          directly to counsel and/or made available for inspection and copying.

 3                 b)      Counsel for defendant desires additional time to review discovery, consult with his

 4          client, review the current charges, and conduct investigation and research related to the charges.

 5                 c)      Counsel for defendant believes that failure to grant the above-requested

 6          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 7          into account the exercise of due diligence.

 8                 d)      The government does not object to the continuance.

 9                 e)      Based on the above-stated findings, the ends of justice served by continuing the

10          case as requested outweigh the interest of the public and the defendant in a trial within the

11          original date prescribed by the Speedy Trial Act.

12                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13          et seq., within which trial must commence, the time period of 10/15/2013 to 10/28/2013,

14          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

15          because it results from a continuance granted by the Court at defendant’s request on the basis of

16          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

17          of the public and the defendant in a speedy trial.

18          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

19 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

20 must commence.

21          IT IS SO STIPULATED.

22 Dated: October 23, 2013                                 BENJAMIN B. WAGNER
                                                           United States Attorney
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24                                                         /s/ GRANT B. RABENN
                                                           GRANT B. RABENN
25                                                         Assistant United States Attorney

26
     Dated: October 23, 2013                               /s/ PETER JONES
27                                                         PETER JONES
                                                           Counsel for Defendant
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 1                                        FINDINGS AND ORDER

 2         The Court finds that the time period of 10/15/2013 to 10/28/2013, inclusive, is deemed excludable

 3 pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).

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 5 IT IS SO ORDERED.

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        Dated:   October 24, 2013                          /s/ Barbara A. McAuliffe             _
 7                                                  UNITED STATES MAGISTRATE JUDGE

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